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                                                                     15
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                                                                     16
                                                                                                 UNITED STATES BANKRUPTCY COURT
                                                                     17
                                                                                   CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES DIVISION
                                                                     18

                                                                     19 In re                                           Case No. 2:20-bk-13530-BR

                                                                     20 JADELLE JEWELRY AND DIAMONDS,                   Chapter 7
                                                                        LLC,
                                                                     21                                                 PETITIONING CREDITORS’
                                                                                                                        OPPOSITION TO PUTATIVE DEBTOR’S
                                                                     22                                                 MOTION TO DISMISS INVOLUNTARY
                                                                                          Alleged Debtor.               PETITION AND REQUEST FOR
                                                                     23                                                 ATTORNEY’S FEES, COSTS, AND
                                                                                                                        DAMAGES; MEMORANDUM OF POINTS
                                                                     24                                                 AND AUTHORITIES IN SUPPORT
                                                                                                                        THEREOF
                                                                     25
                                                                                                                        DATE:       June 9, 2020
                                                                     26                                                 TIME:       10:00 a.m.
                                                                                                                        PLACE:      Courtroom “1668”
                                                                     27

                                                                     28


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                                                                      1
                                                                        VICTOR FRANCO NOVAL; PETER
                                                                      2 MARCO, LLC; and FIRST
                                                                        INTERNATIONAL DIAMOND, INC.,
                                                                      3
                                                                                  Petitioning Creditors,
                                                                      4
                                                                             vs.
                                                                      5
                                                                        JADELLE JEWELRY AND DIAMONDS,
                                                                      6 LLC,

                                                                      7                   Alleged Debtor.
                                                                      8

                                                                      9
                                                                                          Petitioning Creditors, Victor Franco Noval (“Noval”), Peter Marco, LLC
                                                                     10
                                                                          (“Marco”), and First International Diamond, Inc. (“First International” and together with
                                                                     11
  Professional Corporation




                                                                          Noval and Marco, the “Petitioning Creditors”), hereby submit their “Petitioning Creditors’
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                                                                     12
                                                                          Opposition to Putative Debtor’s Motion to Dismiss Involuntary Petition and Request for
                                                                     13
                                                                          Attorney’s Fees, Costs, and Damages; Memorandum of Points and Authorities in Support
                                                                     14
                                                                          Thereof” (the “Opposition”), in response to “Putative Debtor’s Motion to Dismiss
                                                                     15
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                                                                          Involuntary Petition and Request for Attorney’s Fees, Costs, and Damages; and
                                                                     16
                                                                          Memorandum of Points and Authorities in Support” (the “Motion”), filed by the putative
                                                                     17
                                                                          debtor Jadelle Jewelry and Diamonds, LLC (the “Debtor” or “Jadelle”), and represents as
                                                                     18
                                                                          follows:
                                                                     19
                                                                                                                        I.
                                                                     20
                                                                                                            PREFATORY STATEMENT
                                                                     21
                                                                                          As a matter of statute and controlling case law, none of the asserted bases
                                                                     22
                                                                          of the Debtor’s Rule 12(b)(6) motion are legal bases for dismissal under the rule. The
                                                                     23
                                                                          hollow assertion of “bona fide disputes” regarding Petitioning Creditors’ debts cannot be
                                                                     24
                                                                          the basis of a Rule 12(b)(6) motion under the logic of the rule and bankruptcy practice,
                                                                     25
                                                                          which differs dramatically from civil Rule 12(b)(6) motion practice. And even if this Court
                                                                     26
                                                                          could venture into determining whether bona fide disputes exist within the confines of this
                                                                     27
                                                                          Motion, there is absolutely no admissible evidence supporting the Debtor’s empty and
                                                                     28


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                                                                      1 false claims. How could there be? The Debtor’s controlling insider is a convicted felon

                                                                      2 and fraudster using the Debtor as a front for his illegitimate and felonious transgressions.

                                                                      3 Conversely, the involuntary petition form used here is sufficient, as a matter of law, to

                                                                      4 demonstrate the bona fide status of Petitioning Creditors’ claims both as to liability and

                                                                      5 amount.

                                                                      6                   Equally unavailing is the Debtor’s argument that the involuntary petition

                                                                      7 must be dismissed due to Petitioning Creditors’ purported bad faith. Critically, not only

                                                                      8 does the Ninth Circuit not recognize bad faith as a basis for dismissal of involuntary

                                                                      9 petitions, but involuntary petitions enjoy a presumption of good faith. Hence, even if bad

                                                                     10 faith is a consideration, a debtor bears the burden of showing, by a preponderance of the

                                                                     11 evidence, that the filing was in bad faith. The Debtor fails miserably in this regard. The
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                                                                     12 Motion is devoid of any evidence, much less credible evidence, proving that Petitioning

                                                                     13 Creditors acted in bad faith in forcing this non-operating shell into chapter 7.1

                                                                     14                   Therefore, not only must the Motion, including its request for damages, be
                                                                     15 denied, the Debtor must be forced to answer the involuntary petition and file its list of
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                                                                     16 creditors to provide all of its victims an opportunity to participate in this proceeding.

                                                                     17                                                        II.
                                                                     18                                        FACTUAL BACKGROUND
                                                                     19                   The Debtor was incorporated in December 2017. Like its predecessor

                                                                     20 Jadelle, Inc. (“Jadelle Inc.” and together with Debtor or Jadelle, the “Jadelle Entities”), the

                                                                     21 Debtor was formed for the sole purpose of giving its controlling principals and insiders,

                                                                     22 Jona Rechnitz (“Jona”) and Rachel Rechnitz (“Rachel” and together with Jona, the

                                                                     23 “Rechnitz’s”), an air of legitimacy. Both Jona and Rachel advertised political and

                                                                     24 powerful celebrity connections to create a false sense of credibility about themselves and

                                                                     25 their business, posting photos on their social media of Kylie Jenner and Kim Kardashian,

                                                                     26
                                                                          1
                                                                     27     The Debtor either forgot or simply does not know that this Court is the leading expert on evidence and its
                                                                          interplay with bankruptcy.
                                                                     28


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                                                                      1 among others. However, once the veil was lifted, it became apparent that the Debtor was

                                                                      2 nothing more than a sham entity for Jona to run his fraudulent enterprise, even following

                                                                      3 being sentenced after pleading guilty to numerous fraud and bribery related charges.

                                                                      4                    Although the Rechnitz’s will try, albeit without any evidence, to cajole this

                                                                      5 Court into believing that the Debtor is a legitimate business enterprise which is

                                                                      6 conducting jewelry shows, selling merchandise, and paying its creditors, nothing could be

                                                                      7 further from the truth. Tellingly, other than a single sentence describing when it was

                                                                      8 incorporated, the Debtor makes no effort to even attempt to portray itself as an entity not

                                                                      9 worthy of Section 303(h)’s ultimate remedy. The silence is deafening.

                                                                     10                    The Debtor is the model case for why Section 303 was enacted; to allow

                                                                     11 aggrieved creditors to force a non-paying entity into chapter 7 so an independent trustee
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                                                                     12 can recover and liquidate property and recover unauthorized transfers for the benefit of

                                                                     13 the estate. Once the full scope of the Debtor’s and the Rechnitz’s misdeeds are

                                                                     14 exposed, this Court surely will enter an order for relief and place creditors on the pathway

                                                                     15 towards recovering a portion of their claims with the assistance of a true fiduciary.
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                                                                     16                                                   III.

                                                                     17       THE PUTATIVE DEBTOR CANNOT SEEK DISMISSAL OF THE INVOLUNTARY

                                                                     18       PETITION UNDER RULE 12(b)(6) AND IT MUST NOT ONLY FILE AN ANSWER,
                                                                     19                   BUT IT MUST FILE A LIST OF CREDITORS ALLOWING OTHER

                                                                     20                       CREDITORS TO JOIN THE INVOLUNTARY PETITION

                                                                     21                    The Debtor’s Motion largely is based on a single premise - that each of

                                                                     22 Petitioning Creditors’ claims are the subject of “bona fide” disputes. Not surprisingly, the

                                                                     23 Debtor does not contest that it is not paying its undisputed debts as they come due. Nor

                                                                     24 could it; the Debtor, as illustrated, is a non-operating business which is nothing more than

                                                                     25 a conduit for Jona’s illicit and fraudulent conduct. Since Jona will do everything in his

                                                                     26 power to avoid the appointment of a trustee, who will have broad and sweeping powers

                                                                     27 to uncover his and the Debtor’s fraud and recover assets for creditors, the Debtor now

                                                                     28 seeks dismissal of the involuntary petition under the guise that Petitioning Creditors’


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                                                                      1 claims are the subject of bona fide disputes. However, a putative debtor’s assertion of a

                                                                      2 bona fide dispute is not a proper basis of a Rule 12(b)(6) motion, and the Debtor must be

                                                                      3 forced to answer the petition.

                                                                      4           A.      An Involuntary Petition Cannot Be Dismissed Under Rule 12(b)(6) if

                                                                      5                   the Putative Debtor Alleges That the Petitioning Creditors’ Claims Are

                                                                      6                   the Subject of Bona Fide Disputes

                                                                      7                   Unlike civil practice, involuntary chapter 7 petitions are commenced by the

                                                                      8 use of a bankruptcy court approved form. Therefore, Rule 12(b)(6) authority is not

                                                                      9 authoritative and runs afoul of controlling law.

                                                                     10                   The deficiencies of putative debtors using Rule 12(b)(6) motions to contest

                                                                     11 involuntary petitions was on full display in the Bankruptcy Appellate Panel’s recent
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                                                                     12 decision in Hayden v. QDOS, Inc. (In re QDOS, Inc.), 607 B.R. 338 (B.A.P. 9th Cir.

                                                                     13 2019). In QDOS, three petitioning creditors filed an involuntary petition against QDOS,

                                                                     14 Inc. (“QDOS”). Similar to Jadelle, QDOS filed a Rule 12(b)(6) motion to dismiss the

                                                                     15 petition and it also requested damages. Also similar to the Debtor, QDOS did not dispute
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                                                                     16 the petition’s allegation that it was not paying its debts as they came due; it focused

                                                                     17 solely on disputing the standing of one of the petitioning creditors. According to QDOS,

                                                                     18 since it asserted it had 12 or more claimholders, if it could knock out one of the petitioning

                                                                     19 creditors the involuntary petition would have to be dismissed since it would not satisfy the

                                                                     20 numerosity requirement of Section 303(b) of the Code.

                                                                     21                   The petitioning creditors opposed the motion arguing, among other things,

                                                                     22 that QDOS’s grounds for dismissal relied on disputed facts which could not be resolved

                                                                     23 on a Rule 12(b)(6) motion to dismiss. Two days before the hearing, the bankruptcy court

                                                                     24 issued a tentative ruling granting the motion because the disputed petitioning creditor

                                                                     25 was an investor and, therefore, not a qualifying petitioner, and, as a result, there were

                                                                     26 less than three qualifying creditors. Later, however, a new creditor joined the involuntary

                                                                     27 petition and the court set the matter for trial.

                                                                     28


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                                                                      1                    After a series of continuances and delays, the replacement creditor did not

                                                                      2 attend the trial, as required by the court. As a result, the court entered an order

                                                                      3 dismissing the petition since it found that QDOS had more than 12 creditors and, due to

                                                                      4 the newly joined creditor’s failure to attend the trial, it concluded that there were an

                                                                      5 insufficient number of petitioning creditors. The Panel reversed the bankruptcy court’s

                                                                      6 decision.

                                                                      7                    As the Panel noted, although Rule 12(b)(6) applies in a contested

                                                                      8 involuntary situation just as it does generally, the court accepts factual allegations in the

                                                                      9 petition as true, but disregards legal conclusions. Ashcroft v. Iqbal, 556 U.S. 662, 678-

                                                                     10 79, 129 S. Ct. 1937, 173 L. Ed. 2d 868 (2009). It then determines if the remaining factual

                                                                     11 allegations, construed in the light most favorable to the non-moving party’s favor, state a
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                                                                     12 facially plausible claim for relief. Id., at 679; see also Bell Atl. Corp. v. Twombly, 550 U.S.

                                                                     13 544, 127 S. Ct. 1955, 167 L. Ed. 2d 929 (2007). As a result, “a bankruptcy court will not

                                                                     14 be able to dismiss an involuntary case solely on a motion to dismiss. If the petitioning

                                                                     15 creditors plausibly allege that they have met the standards, the motion must fail, and the
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                                                                     16 involuntary debtor must answer.” QDOS, 607 B.R. at 345.2

                                                                     17

                                                                     18   2
                                                                            The Debtor cites several cases regarding the standards for Rule 12(b)(6) motions. However, the cases
                                                                          cited are all civil cases explaining and applying Rule 12(b)(6). As demonstrated above, none of these cases
                                                                     19   have any relevance to a Rule 12(b)(6) motion where a bankruptcy court-approved form is used as the
                                                                          complaint. Here, the Debtor’s Motion is limited to the four corners of the bankruptcy petition form. And, as
                                                                     20   noted, in ruling on a motion to dismiss, a court must view the complaint, or the involuntary petition in this
                                                                          case, in the light most favorable to the petitioning creditors, as plaintiffs, and take their allegations as true.
                                                                     21   Hishon v. King & Spalding, 467 U.S. 69, 73, 104 S. Ct. 2229, 81 L. Ed. 2d 59 (1984). When a bankruptcy
                                                                          court considers a motion to dismiss at the pleadings stage, it must apply the Federal Rules of Civil
                                                                     22   Procedure as incorporated into the Federal Rules of Bankruptcy Procedure. Rule 8(a) of the Federal Rules
                                                                          of Civil Procedure, as incorporated into Rule 7008 of the Federal Rules of Bankruptcy Procedure, requires
                                                                     23   that a complaint contain “a short plain statement of the claim showing that the pleader is entitled to relief.”
                                                                          K’napp v. Brown, 772 Fed. Appx. 473 (9th Cir. 2019). Courts have interpreted this standard liberally.
                                                                     24   While the pleading must be sufficient to give the defendant fair notice of what the claim is and the grounds
                                                                          upon which it rests, the pleader is not required to set forth in detail the facts upon which the claim is based.
                                                                     25   Conley v. Gibson, 355 U.S. 41, 47, 78 S. Ct. 99, 102-103, 2 L. Ed. 2d 80 (1957). Finally, the issue is not
                                                                          whether the plaintiff (or Petitioning Creditors in this case) will ultimately prevail on its claims, but whether
                                                                     26   the claimant is entitled to offer evidence to support the claims. Scheuer v. Rhodes, 416 U.S. 232, 236, 94
                                                                          S. Ct. 1683, 1686, 40 L. Ed. 2d 90 (1974). Under this liberal pleading standard, the Motion cannot be
                                                                     27   granted.

                                                                     28


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                                                                      1                   In other words, the law is quite clear - although an involuntary debtor may

                                                                      2 initially contest an involuntary petition through a Rule 12(b)(6) motion, where a trial is

                                                                      3 required for resolution of contested matters, such as the number of creditors or the bona

                                                                      4 fide nature of the petitioning creditors’ claims, the debtor must answer and file the list of

                                                                      5 creditors required by Rule 1003(b).

                                                                      6                   As the Panel further found:

                                                                      7                   In summary, if resolution of a contested involuntary

                                                                      8                   proceeding requires a trial, there is no procedural path that

                                                                      9                   allows the alleged involuntary debtor to leap over the

                                                                     10                   requirement that it answer and, if appropriate given its

                                                                     11                   answer, file the creditor list mandated by Rule 1003(b). The
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                                                                     12                   mere fact that the involuntary debtor initiated its opposition

                                                                     13                   through a Civil Rule 12(b)(6) motion delays, but does not

                                                                     14                   invariably negate, the requirement of answer and creditor

                                                                     15                   list.
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                                                                     16 Id., at 345. (Emphasis added).

                                                                     17                   The court in In re Rambo Imaging, L.L.P., 2007 Bankr. LEXIS 3912 (Bankr.
                                                                     18 W.D. Tex. 2007) reached the same conclusion. In Rambo Imaging, one petitioning

                                                                     19 creditor filed an involuntary chapter 7 petition using the court-approved form. The

                                                                     20 putative debtor filed an unspecified Rule 12(b) motion to dismiss, alleging that the debt

                                                                     21 was subject to a bona fide dispute thereby justifying dismissal under Rule 12(b).

                                                                     22                   Because the motion was not filed under a specific subparagraph, the

                                                                     23 bankruptcy court engaged in an exhaustive analysis of the various sub parts of Rule

                                                                     24 12(b) and concluded that the factual assertion of a bona fide dispute could not be the

                                                                     25 basis for granting a Rule 12(b) motion. The court’s reasoning was that a Rule 12(b)(6)

                                                                     26 motion (the most likely sub part) challenges the legal sufficiency of the petition’s

                                                                     27 allegations. However, when the approved involuntary petition form is used, as was used

                                                                     28 by Petitioning Creditors against Jadelle, the allegations are sufficient as a matter of law


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                                                                      1 and contesting the factual allegations in a form petition renders dismissal under Rule

                                                                      2 12(b)(6) unavailable or inappropriate.

                                                                      3                   Relevantly, the court in Rambo Imaging examined the form involuntary

                                                                      4 petition, which is similar in substance to the involuntary petition filed against Jadelle. In

                                                                      5 Rambo Imaging, the involuntary petition form, as completed by the petitioning creditor by

                                                                      6 the checking of applicable boxes, stated that (i) petitioner was eligible to file the petition

                                                                      7 pursuant to 11 U.S.C. § 303(b), (ii) the debtor was a person against whom an order for

                                                                      8 relief may be entered under title 11 of the United States Code, (iii) the debtor was

                                                                      9 generally not paying such debtor’s debts as they become due, unless such debts are the

                                                                     10 subject of a bona fide dispute as to liability or amount, and (iv) on the second page of the

                                                                     11 form, where it was asked to list information about all the petitioning creditors, the
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                                                                     12 petitioning creditor listed only itself and inserted “fees for professional services rendered”

                                                                     13 under the heading of “nature of Claim,” and listed $ 218,613.21 under the heading

                                                                     14 “amount of claim.”

                                                                     15                   The alleged debtor specifically contended that the petition, as so drafted,
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                                                                     16 did not allege facts showing that the petitioning creditor’s claim was not contingent or

                                                                     17 subject to a bona fide dispute as to liability or amount. The Rambo Imaging court

                                                                     18 disagreed. In doing so, the court noted that the factual allegations necessary to support

                                                                     19 an involuntary petition are relatively few and simple. Similar to the form used by

                                                                     20 Petitioning Creditors in this case, the petition in Rambo Imaging showed that the

                                                                     21 petitioner asserted a claim, showed the amount and nature of the claim, and, through

                                                                     22 reference to Section 303(b), incorporated allegations that addressed that section’s

                                                                     23 requirements that the claim not be contingent or the subject of a bona fide dispute.

                                                                     24 Nothing more was required to overcome a Rule 12(b)(6) challenge.

                                                                     25                   According to the court:

                                                                     26                   On a Rule 12(b)(6) motion, “[t]he issue is not whether a

                                                                     27                   plaintiff will ultimately prevail but whether the claimant is

                                                                     28                   entitled to offer evidence to support the claims.” Jackson v.


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                                                                      1                   Birmingham Bd. of Educ., 544 U.S. 167, 184, 125 S. Ct.

                                                                      2                   1497, 161 L. Ed. 2d 361 (2005), quoting Scheuer v. Rhodes,

                                                                      3                   416 U.S. 232, 94 S. Ct. 1683, 40 L. Ed. 2d 90 (1974). A

                                                                      4                   petitioner’s burden should not be as high on a pre-trial

                                                                      5                   motion to dismiss as it would be at the trial on the involuntary

                                                                      6                   petition. All it must show at trial is “a prima facie case that

                                                                      7                   no bona fide dispute exists. Once this is done, the burden

                                                                      8                   shifts to the debtor to present evidence demonstrating that a

                                                                      9                   bona fide dispute does exist. . . . The court’s objective [at

                                                                     10                   trial on the merits] is to ascertain whether a dispute that is

                                                                     11                   bona fide exists; the court is not to actually resolve the
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                                                                     12                   dispute.” Sims, 994 F.2d at 221, quoting In re Rimell, 946

                                                                     13                   F.2d 1363, 1365 (8th Cir. 1991). Certainly, to merely
                                                                     14                   withstand a Rule 12(b)(6) motion, a petitioner should not be
                                                                     15                   required to prove by a preponderance of the evidence that
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                                                                     16                   its claim is valid, when the only “evidence” that it is not are
                                                                     17                   the allegations and arguments of the alleged debtor
                                                                     18                   contained in pleadings never ruled on.
                                                                     19 Id., at *41-*42. (Emphasis added).

                                                                     20                   Here, the Debtor is attempting to use the same counsel-asserted “bona fide

                                                                     21 dispute” argument rejected by the courts in QDOS and Rambo Imaging. There simply is

                                                                     22 no reason for this Court to depart from the mandate of these cases. Counsel’s assertion

                                                                     23 of a bona fide dispute is not a legal or legitimate basis for a Rule 12(b)(6) motion. See

                                                                     24 also In re McDougald, 17 F.R.D. 2, 5 (W.D. Ark. 1955) (in considering motion to dismiss

                                                                     25 involuntary petition, albeit one brought under the Bankruptcy Act, that contained only

                                                                     26 allegations of the amount and nature of the claims of petitioning creditors, court affirmed

                                                                     27 bankruptcy referee’s decision to deny motion to dismiss, specifically holding that “in the

                                                                     28


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                                                                      1 absence of affidavits or evidence to the contrary, the well pleaded allegations of the

                                                                      2 creditors’ petition, for purposes of a motion to dismiss, must be accepted as true.”).

                                                                      3                   These cases demonstrate the overriding view that dismissal of involuntary

                                                                      4 petitions at the outset are disfavored. See In re Calloway, 70 B.R. 175, 179 (Bankr. N.D.

                                                                      5 Ind. 1986) (“As is generally true, motions to dismiss involuntary petitions pursuant to

                                                                      6 Bankruptcy Rule 1011(b) and Fed.R.Civ.P. 12(b) are disfavored and should not be

                                                                      7 granted unless it appears certain that the petitioners would not be entitled to an order for

                                                                      8 relief under any facts they could prove in support of their allegations. The petition is to be

                                                                      9 construed in a light most favorable to the petitioners, whose allegations are taken as

                                                                     10 true.”). Since Rule 12(b) is an inappropriate vehicle for contesting an involuntary petition,

                                                                     11 the Court must deny the Motion and force the Debtor to answer.
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                                                                     12           B.      Since Other Creditors Are Entitled to Join An Involuntary Petition to

                                                                     13                   Cure Any Numerosity Requirement, the Debtor Must Be Required to
                                                                     14                   Answer and File the Requisite List of Creditors
                                                                     15                   As noted by the Panel in QDOS, “joinder can remedy a deficiency in the
SulmeyerKupetz, A




                                                                     16 number of petitioning creditors; and all creditors have the right to consider joinder where

                                                                     17 the involuntary debtor is in economic distress.” QDOS, 607 B.R. at 345. Consequently,

                                                                     18 even if the Debtor could somehow displace one or more of the Petitioning Creditors,

                                                                     19 “[w]here there are fewer than the three required petitioning creditors, the Code and Rules

                                                                     20 allow for Civil Rule 24(a)(1) joinder. 11 U.S.C. § 303(c); Fed. R. Bankr. P. 1018. Thus,

                                                                     21 joinder may remedy a defect in the number of petitioning creditors.” Id., at 345.

                                                                     22                   In issuing its ruling, the Panel followed the court’s reasoning and decision in

                                                                     23 In re Kidwell, 158 B.R. 203, 212-13 (Bankr. E.D. Cal. 1993), where the court emphasized

                                                                     24 that such joinder was a matter of right, and could cure even a tainted initial petition. Id.,

                                                                     25 at 211. The Kidwell court underscored the importance of the right to join given that an

                                                                     26 involuntary petition may provide significant benefit to all creditors. The Panel concurred,

                                                                     27 finding that “where an entity is in true economic distress, an involuntary filing may stop

                                                                     28 the race to the state courthouse and the dismemberment of a debtor through involuntary


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                                                                      1 liens, level the playing field among unsecured creditors, and otherwise appropriately aid

                                                                      2 creditors.” QDOS, 607 B.R. at 345.

                                                                      3                   The upshot of these decisions is that it is not permissible to deprive eligible

                                                                      4 creditors of their statutory right to join in an involuntary petition and then to dismiss for

                                                                      5 insufficiency in number of petitioners, even if an initial petitioning creditor is later

                                                                      6 excluded. As a result, all claimholders must receive an opportunity to consider

                                                                      7 supporting an involuntary petition when the debtor is in financial distress even if there

                                                                      8 initially are too few petitioning creditors. The QDOS Panel recognized that this has been

                                                                      9 the rule since at least 2002, when the Ninth Circuit issued its decision in Liberty Tool, &

                                                                     10 Mfg. v. Vortex Fishing Sys., Inc. (In re Vortex Fishing Sys., Inc.), 277 F.3d 1057 (9th Cir.

                                                                     11 2002).
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                                                                     12                   In Vortex Fishing the alleged debtor objected to an involuntary petition,
                                                                     13 claiming that it was not in economic distress and there were an insufficient number of

                                                                     14 petitioning creditors. Pending a trial on both disputed issues, the bankruptcy court

                                                                     15 ordered the debtor to submit a list of its creditors to the bankruptcy court, and the parties
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                                                                     16 agreed that the list could not be released without a court order. The petitioning creditors

                                                                     17 did not ask for pre-trial release of the creditor list. At trial, the bankruptcy court found that

                                                                     18 the number of then-existing petitioning creditors was insufficient, but it also continued

                                                                     19 with the trial and determined that the debtor was generally paying its debts as they came

                                                                     20 due. It then dismissed the involuntary petition.

                                                                     21                   On appeal, the petitioning creditors argued, based on Rule 1003(b), that the

                                                                     22 bankruptcy court should have notified all creditors of the involuntary petition, afforded

                                                                     23 them an opportunity to join, and only then dismissed the involuntary case. Id., at 1070.

                                                                     24 In rendering its decision, the Ninth Circuit correctly noted that generally when an alleged

                                                                     25 debtor answers a petition filed by fewer than three qualifying petitioners, asserts the

                                                                     26 Section 303(b)(1) three-petitioning creditors requirement, and alleges that it has twelve or

                                                                     27 more creditors, the bankruptcy court “must assure that other creditors have a ‘reasonable

                                                                     28


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                                                                      1 opportunity’ to exercise their § 303(c) statutory power to join as petitioners . . . .” Id., at

                                                                      2 1071.

                                                                      3                   Vortex Fishing, thus, underscores that all creditors must have a reasonable

                                                                      4 opportunity to join in an involuntary petition where the number of petitioning creditors is

                                                                      5 being challenged by the debtor. It was only unnecessary in Vortex Fishing because, in a

                                                                      6 consolidated hearing, the bankruptcy court correctly found that the involuntary debtor was

                                                                      7 not in financial distress; joinder, thus, would have been a meaningless endeavor. In sum,

                                                                      8 once a trial is required to resolve issues in a contested involuntary proceeding, the

                                                                      9 involuntary debtor must answer within 14 days. See QDOS, 607 B.R. at 345 (a Rule

                                                                     10 12(b)(6) motion is no substitute for a trial on dispositive issues, and a putative debtor

                                                                     11 must answer an involuntary petition and file the requisite creditor list).
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                                                                     12                   Nothing warrants a departure from this line of cases, especially since the
                                                                     13 Petitioning Creditors are aware of scores of other creditors and victims of Jadelle’s fraud.

                                                                     14 The Debtor has no choice but to follow controlling law and not only answer the petition,

                                                                     15 but submit its Rule 1003(b) creditor list.3
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                                                                     16                                                        IV.
                                                                     17        THE MOTION IS DEVOID OF A SINGLE SHRED OF ADMISSIBLE EVIDENCE
                                                                     18                   Even presuming that relief could be granted under Rule 12(b)(6), there is no
                                                                     19 evidentiary basis for any of the Debtor’s fanciful contentions. Since the sworn testimony

                                                                     20 of a convicted felon and swindler certainly would not be worth the paper it is written on,

                                                                     21 and possibly would subject him to perjury charges, the Debtor instead relies on a host of

                                                                     22 hand-selected pleadings from other courts in a fruitless attempt to create an evidentiary

                                                                     23

                                                                     24

                                                                     25

                                                                     26
                                                                          3
                                                                     27     Petitioning Creditors are aware of other creditors who may be interested in joining the involuntary petition
                                                                          to prevent the Debtor and the Rechnitz’s from further abusing the legal system and other innocent parties.
                                                                     28


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                                                                      1 basis for its Motion under the guise of Rule 201 of the Federal Rules of Evidence.4 Its

                                                                      2 ploy fails miserably.5

                                                                      3                   A.      Rule 201 is Not a Substitute for Admissible Evidence

                                                                      4                   Upon a properly supported request by a party, a federal court may take

                                                                      5 judicial notice of adjudicative facts. Fed. R. Evid. 201(a), (d). Facts subject to judicial

                                                                      6 notice are those which are either “(1) generally known within the territorial jurisdiction of

                                                                      7 the trial court or (2) capable of accurate and ready determination by resort to sources

                                                                      8 whose accuracy cannot reasonably be questioned.” Fed. R. Evid. 201(b). However, a

                                                                      9 court may not take judicial notice of a matter that is in dispute. Lee v. City of Los

                                                                     10 Angeles, 250 F.3d 668, 690 (9th Cir. 2001). At all times, the party requesting judicial

                                                                     11 notice bears the burden of persuading the court that the particular fact is not reasonably
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                                                                     12 subject to dispute and is capable of immediate and accurate determination by resort to a

                                                                     13 source “whose accuracy cannot reasonably be questioned.” In re Tyrone F. Conner

                                                                     14 Corp., Inc., 140 B.R. 771, 781 (E.D. Cal. 1992). By relying on non-bankruptcy court

                                                                     15 pleadings in an effort to prove that Petitioning Creditors’ claims are in bona fide dispute,
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                                                                     16 the Debtor flouts the strict requirements and limitations of Rule 201.

                                                                     17                   Consequently, although Rule 201 allows a bankruptcy judge to take judicial
                                                                     18 notice of a judicial or administrative proceeding which has a direct relation to the matters

                                                                     19 at issue, a court can only take judicial notice of the existence of those matters of public

                                                                     20 record, but not of the veracity of the arguments and disputed facts contained therein.

                                                                     21

                                                                     22   4
                                                                            It was no accident that the Debtor did not submit declarations from either Jona or Rachel, as both of them
                                                                     23   are fearful of waiving their 5th Amendment rights in the face of possibly another criminal investigation or
                                                                          indictment.
                                                                     24   5
                                                                            Rule 12(c) provides that when matters outside of the pleadings are considered by the court, a motion
                                                                          under Rule 12(b)(6) must be treated as a motion for summary judgment governed by Rule 56. See In re
                                                                     25   Rothery, 143 F.3d 546, 548-49 (9th Cir. 1998). Under that rule, summary judgment may be granted only “if
                                                                          the movant shows that there is no genuine dispute as to any material fact and the movant is entitled to
                                                                     26   judgment as a matter of law.” Fed. R. Civ. P. 56(a). So even if this Court decides to allow the improperly
                                                                          introduced state court pleadings into evidence, this Court must find that there are genuine issues of
                                                                     27   material fact regarding the bona fide status of Petitioning Creditors’ claims, which, on its own, mandates
                                                                          denial of the Motion.
                                                                     28


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                                                                      1 Similarly, a court may not take judicial notice of one party’s opinion of how a matter of

                                                                      2 public record should be interpreted or construed. See In re Sinclair, 563 B.R. 554 (Bankr.

                                                                      3 E.D. Cal. 2017).

                                                                      4                   Fairly stated, the Debtor is perverting the use of Rule 201 by advancing the

                                                                      5 misleading notion that a court taking judicial notice of records means taking judicial notice

                                                                      6 of the truth of facts asserted in every document in a court file, including pleadings and

                                                                      7 affidavits. As just illustrated, that proposition is utterly false. A court, for instance, may

                                                                      8 not take judicial notice of hearsay allegations as being true merely because they are part

                                                                      9 of a court record or file. In other words, the mere filing of a document with a court does

                                                                     10 not magically result in the contents of the document attaining a sufficient degree of

                                                                     11 reliability to overcome evidentiary objections such as hearsay to its admissibility in a trial
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                                                                     12 before a bankruptcy judge.

                                                                     13                   This is not a new principle. As the Third Circuit noted in In re

                                                                     14 Aughenbaugh, 125 F.2d 887 (3d Cir. 1942):

                                                                     15                   In passing upon this question we may consider only the
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                                                                     16                   evidence which was presented to the referee at the hearing
                                                                     17                   upon the trustee’s exceptions to the mortgagee’s priority
                                                                     18                   claim. We may not consider other evidence which may have
                                                                     19                   been in the files of the referee in the bankruptcy

                                                                     20                   administration proceeding. To hold otherwise would be to

                                                                     21                   violate the fundamental concept of procedural due process

                                                                     22                   that a party to litigation is entitled to have the evidence relied

                                                                     23                   on by his opponent presented at the hearing of his case so

                                                                     24                   that he may have the opportunity to cross-examine his

                                                                     25                   opponents’ witnesses and to offer evidence in rebuttal.

                                                                     26   Id., at 889.

                                                                     27                   As highlighted earlier, the Ninth Circuit’s view of Rule 201 is no different.

                                                                     28 See M/V American Queen v. San Diego Marine Constr. Corp., 708 F.2d 1483, 1491 (9th


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                                                                      1 Cir. 1983) (although a court may take judicial notice of its own records, it cannot take

                                                                      2 judicial notice of the truth of the contents of all documents found therein). The taking of

                                                                      3 judicial notice is often merely a way of simplifying the process of authenticating

                                                                      4 documents which would generally require certification under Rules 901 and 902 of the

                                                                      5 Federal Rules of Evidence, and overcoming Rule 1002’s best evidence problems (in

                                                                      6 other words, the concept that because they are in the court’s own files they are accepted

                                                                      7 as genuine).

                                                                      8                   It is clear, however, that authenticating a document does not automatically

                                                                      9 insure its introduction into evidence in the face of other objections, such as hearsay and

                                                                     10 relevancy. As this Court itself has stated, while a bankruptcy judge may take judicial

                                                                     11 notice of a bankruptcy court’s and other tribunal’s records, it “may not infer the truth of the
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                                                                     12 facts contained in documents, unfettered by rules of evidence of logic, simply because

                                                                     13 such documents were filed with the court.” See Barry Russell, Bankruptcy Evidence

                                                                     14 Manual, § 201.5 at 201 (West 1995). See also In re Popple, 532 B.R. 581 (Bankr. M.D.

                                                                     15 Pa. 2015) (bankruptcy court may take judicial notice of the docket events in a case and
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                                                                     16 the contents of the bankruptcy schedules to determine the timing and status of case

                                                                     17 events, as well as other facts not reasonably in dispute, but not the truth of the facts

                                                                     18 asserted in them).

                                                                     19                   Even if the Debtor is unwilling to accept the severe restrictions of Rule 201,

                                                                     20 this Court is keenly aware of the distinction between taking judicial notice of the existence

                                                                     21 of a document and the truth or falsity of any given document’s contents. In practical

                                                                     22 effect, therefore, this Court is limited to a finding which is the equivalent of a certificate

                                                                     23 regarding custody by a judge of a court of record of the court in which the record is kept.

                                                                     24 This Court can glean nothing further from the hundreds of pages of state court

                                                                     25 documents presented by the Debtor in support of its procedurally defective Motion. In

                                                                     26 other words, merely because this Court can use Rule 201 to find that the documents are

                                                                     27 genuine does not mean that the Court can automatically accept as true the facts

                                                                     28 contained in such documents.


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                                                                      1                   This is especially true since the Debtor is attempting to use these

                                                                      2 documents to prove adjudicative facts, in essence, that Petitioning Creditors’ claims are

                                                                      3 the subject of bona fide disputes. See In re Carter, 570 B.R. 500, 502 n.1 (Bankr.

                                                                      4 M.D.N.C. 2017) (there is a crucial distinction between taking judicial notice of the fact that

                                                                      5 an entity has filed a document in the case, or in a related case, on a given date, i.e., the

                                                                      6 existence thereof, and the taking of judicial notice of the truth or falsity of the contents of

                                                                      7 any such document for the purpose of making a finding of fact); In re James, 300 B.R.

                                                                      8 890, 895 (Bankr. W.D. Tex. 2003) (although related to a debtor’s case, litigation is a

                                                                      9 separate judicial proceeding, distinct from the collective proceeding referred to in

                                                                     10 bankruptcy parlance as the “case” or “base case,” therefore, the litigation record, even if it

                                                                     11 may involve most of the same parties as in the base case, is clearly distinct and although
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                                                                     12 the court can take judicial notice that the documents exist, the litigation documents

                                                                     13 cannot be admitted into evidence simply through invoking the doctrine of judicial notice).

                                                                     14                   Here, the Court has no choice but to deny the Debtor’s request for judicial

                                                                     15 notice. The facts set forth in the designated documents are not “generally known within
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                                                                     16 the territorial jurisdiction of the trial court” or “capable of accurate and ready

                                                                     17 determination by resort to sources whose accuracy cannot reasonably be questioned.”

                                                                     18 By asking the Court to make a finding that Petitioning Creditors’ claims are in bona fide

                                                                     19 dispute merely be attaching state court pleadings and making casual observations about

                                                                     20 their contents is an improper use of Rule 201. With no other evidence, the Court simply

                                                                     21 cannot make such a finding in the confines of this Motion. See United States v. Ritchie,

                                                                     22 342 F.3d 903, 908-09 (9th Cir. 2003) (court cannot take judicial notice of underlying facts

                                                                     23 relevant to the adjudication of a case unless they fit the requirements of Rule 201); NAC

                                                                     24 Foundation, LLC v. Jodoin, 2017 U.S. Dist. LEXIS 49050 (D. Nev. March 31, 2017)

                                                                     25 (declining to take judicial notice of declarations in support of pleadings alleging specific

                                                                     26 statements made by defendant pursuant to Rule 12(b)(6)).

                                                                     27

                                                                     28


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                                                                      1                   B.     With Rare Exceptions Not Present Here, the Ninth Circuit

                                                                      2                          Disfavors the Use of Rule 201 to Support a Rule 12(b) Motion

                                                                      3                   With limited exceptions, “courts may not consider material outside the

                                                                      4 pleadings when assessing the sufficiency of a complaint under Rule 12(b)(6) of the

                                                                      5 Federal Rules of Civil Procedure.” Khoja v. Orexigen Therapeutics, Inc., 899 F.3d 988,

                                                                      6 998 (9th Cir. 2018), cert. denied sub nom. Hagan v. Khoja, __ U.S. __, 139 S. Ct. 2615,

                                                                      7 204 L. Ed. 2d 264 (2019). Under one recognized exception, a court can take judicial

                                                                      8 notice within the limits of Rule 201(c)(2). However, as noted, courts “cannot take judicial

                                                                      9 notice of the contents of documents for the truth of the matters asserted therein when the

                                                                     10 facts are disputed.” Cal. Sportfishing Prot. All. v. Shiloh Grp., LLC, 268 F. Supp. 3d 1029

                                                                     11 (N.D. Cal. 2017).
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                                                                     12                   The Ninth Circuit recently expressed frustration with “[t]he overuse and
                                                                     13 improper application of judicial notice,” explaining that “[d]efendants face an alluring

                                                                     14 temptation to pile on numerous documents to their motions to dismiss to undermine the

                                                                     15 complaint, and hopefully dismiss the case at an early stage. Yet the unscrupulous use of
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                                                                     16 extrinsic documents to resolve competing theories against the complaint risks premature

                                                                     17 dismissals of plausible claims that may turn out to be valid after discovery.” Khoja, 899

                                                                     18 F.3d at 998. In particular, the Khoja Court emphasized that courts should tread carefully

                                                                     19 in judicially noticing the contents of a record to contradict the complaint’s operative

                                                                     20 allegations where “there is a reasonable dispute as to what the [record] establishes.” Id.,

                                                                     21 at 1001. See also Rollins v. Dignity Health, 338 F. Supp. 3d 1025, 1031 (N.D. Cal. 2018)

                                                                     22 (“Defendants repeatedly do what Khoja forbids - ask the Court to take judicial notice of

                                                                     23 documents that they then use as a basis to challenge the factual averments in the

                                                                     24 complaint.”).

                                                                     25                   In line with Khoja, this Court must refrain from permitting the Debtor to use

                                                                     26 Rule 201 as a basis to defeat the averments in the involuntary petition, namely, that

                                                                     27 Petitioning Creditors possess claims which satisfy the statutory requirements of Section

                                                                     28 303(b). If the Debtor wants to challenge the bona fide status of the claims, then it first


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                                                                      1 must be required to answer the involuntary petition, and file its Rule 1003(b) creditor list,

                                                                      2 after which the parties can avail themselves of the wide range of discovery devices

                                                                      3 available to them before trial.6 In fact, Petitioning Creditors welcome the opportunity to

                                                                      4 rebut the inaccuracies and misrepresentations littered throughout the Motion, and subject

                                                                      5 the Rechnitz’s to cross-examination.

                                                                      6                                                          V.

                                                                      7        THE PETITIONING CREDITORS’ CLAIMS ARE NOT IN BONA FIDE DISPUTE

                                                                      8                    To commence involuntary bankruptcy proceedings against a debtor, a

                                                                      9 creditor must be a holder of a claim against the debtor that is not contingent as to liability

                                                                     10 or the subject of a bona fide dispute as to liability or amount and such noncontingent,

                                                                     11 undisputed claims must aggregate at least $16,750 more than the value of any lien on
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                                                                     12 property of the debtor securing such claims held by the holders of such claims. 11

                                                                     13 U.S.C. § 303(b)(1). Despite the Ninth Circuit’s decision in Dep’t of Revenue v. Blixseth,

                                                                     14 942 F.3d 1179 (9th Cir. 2019) that a creditor whose claim is the subject of a bona fide

                                                                     15 dispute as to amount lacks standing to serve as a petitioning creditor under Section
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                                                                     16 303(b)(1), even if a portion of the claim amount is undisputed, there is no basis for this

                                                                     17 Court to render such a finding at this time.

                                                                     18                    Initially, the Court must refrain from adopting the Debtor’s blatantly false
                                                                     19 premise that pending or unresolved litigation is evidence of a bona fide dispute. Aside

                                                                     20 from the fact that the Debtor only cites two cases from the Fifth and Second Circuits for

                                                                     21 this proposition, the Ninth Circuit expressly rejects such a bright-line test. In fact, in

                                                                     22 Vortex Fishing, the Ninth Circuit unequivocally stated that “the mere existence of pending

                                                                     23 litigation or the filing of an answer is insufficient to establish the existence of a bona fide

                                                                     24
                                                                          6
                                                                     25     Where trial is required to adjudicate an involuntary petition, Rule 1018 of the Federal Rules of Bankruptcy
                                                                          Procedure incorporates many procedural rules and expressly provides that references to adversary
                                                                     26   proceeding therein include a reference to a proceeding to contest an involuntary petition. Several of the
                                                                          incorporated rules, including Rule 26 of the Federal Rules of Civil Procedure, are therefore available to
                                                                     27   provide the parties with the information they need to either contest or defend the involuntary petition at trial.
                                                                          QDOS, 607 B.R. at 346.
                                                                     28


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                                                                      1 dispute.” Vortex Fishing, 277 F.3d at 1066.7 Blixseth did not alter this fundamental rule.

                                                                      2 See also In re Norriss Bros. Lumber Co., 133 B.R. 599, 604 (Bankr. N.D. Tex. 1991)

                                                                      3 (“The mere existence of State Court litigation and the assertion by an alleged debtor of

                                                                      4 various defenses or counterclaims is not per se a bona fide dispute.”); In re TLC Med.

                                                                      5 Grp., Inc., 2005 Bankr. LEXIS 2959 (E.D. La. March 4, 2005) (“Generally, the existence

                                                                      6 of pending litigation between the debtor and creditor does not make the claim subject per

                                                                      7 se a bona fide dispute.”).

                                                                      8                      As addressed earlier, for purposes of a Rule 12(b)(6) motion, Petitioning

                                                                      9 Creditors’ allegations in the court-approved involuntary petition form regarding the nature

                                                                     10 and amount of their claims, in the absence of affidavits or evidence to the contrary, must

                                                                     11 be accepted as true for purposes of a motion to dismiss. Once a petitioning creditor
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                                                                     12 establishes a prima facie case that no bona fide dispute exists, the burden shifts to the

                                                                     13 alleged debtor to present evidence demonstrating that a bona fide dispute does exist. In

                                                                     14 re Biogenetic Technologies, Inc., 248 B.R. 852, 856 (Bankr. M.D. Fla. 1999). “Otherwise,

                                                                     15 any debtor could defeat an involuntary petition under § 303(h)(1) by merely asserting that
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                                                                     16 a bona fide dispute exists.” In re Taylor, 75 B.R. 682, 684 (N.D. Ill. 1987).

                                                                     17                      In response to the involuntary petition, the Debtor has not introduced any
                                                                     18 admissible or relevant evidence, never mind evidence which demonstrates that any of

                                                                     19 Petitioning Creditors’ claims are the subject of bona fide disputes. Rather, all the Debtor

                                                                     20 can muster are unsupported legal conclusions and suppositions.8

                                                                     21                      For example, the Debtor contends that Noval’s claim is subject to a bona

                                                                     22 fide dispute because litigation is pending, the Debtor allegedly made re-payments that

                                                                     23 are not reflected in Noval’s claim, the claim has not been reduced by the liquidation of the

                                                                     24

                                                                     25   7
                                                                              In any event, only the claims of Marco and Noval were the subject of pre-petition litigation.
                                                                          8
                                                                     26     Local Bankruptcy Rule 9013-1(c)(3) requires that a motion be supported by all documentary evidence that
                                                                          the moving party intends to rely on in support of the motion, including declarations. Therefore, to the extent
                                                                     27   the Debtor attempts to ameliorate its evidentiary deficiencies by introducing evidence in its reply,
                                                                          Petitioning Creditors intend to file the necessary motion to strike the inappropriately submitted evidence.
                                                                     28


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                                                                      1 Bugatti, Noval is charging usurious interest, and a third party may be claiming an

                                                                      2 entitlement to any sums paid by the Debtor to Noval. The Debtor makes similar vague

                                                                      3 and unsupported allegations regarding Marco’s claim.

                                                                      4                   In this regard, the Debtor claims that Marco’s claim is disputed because

                                                                      5 litigation is pending, Marco’s claims are against Jona and not the Debtor (even though

                                                                      6 the Debtor concedes that it was not named a defendant in the litigation because of the

                                                                      7 automatic stay and, as readily demonstrated, Jona and Jadelle are legally

                                                                      8 indistinguishable), that certain of the invoices are fabricated, and that the Debtor

                                                                      9 allegedly made re-payments that are not reflected in Marco’s claim. First International’s

                                                                     10 claim, according to the Debtor, also is subject to a bona fide dispute since the Debtor is

                                                                     11 unclear how the claim was calculated, First International is pursuing duplicate claims, it is
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                                                                     12 seeking damages based on the value of the misappropriated jewelry as opposed to its

                                                                     13 cost, and First International’s claim should not include amounts that it paid to acquire

                                                                     14 jewelry that did not belong to it, and the Debtor should be credited for the value of those

                                                                     15 items.
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                                                                     16                   Of course, there is no evidence supporting any of these purported disputes.

                                                                     17 Rather, in arguing that there are bona fide disputes, the Debtor has resorted to “an

                                                                     18 approach aptly described by the Tenth Circuit in another context as ‘throw - as - much -

                                                                     19 mud - against - the - wall - as - you - can - and - hope - some - of - it - sticks.’” See Cook

                                                                     20 v. Rockwell Int’l Corp., 580 F. Supp. 2d 1071, 1086 (D. Col. 2006) (quoting Dodd Ins.

                                                                     21 Servs., Inc. v. Royal Ins. Co., 935 F.2d 1152, 1158 (10th Cir. 1991)). “This approach is

                                                                     22 rarely, if ever, effective.” Protect Lake Pleasant, LLC v. Connor, 2010 U.S. Dist. LEXIS

                                                                     23 77991, *141 (D. Ariz. July 29, 2010). Here, the result is undeveloped and ultimately

                                                                     24 unpersuasive arguments which can only be tested by discovery and an evidentiary

                                                                     25 hearing.9

                                                                     26

                                                                     27   9
                                                                           And if there were lingering questions regarding the bona fide status of Petitioning Creditors’ claims, those
                                                                          concerns were answered in the “Declaration of Oved Anter in Support of Petitioning Creditors’ Motion for
                                                                     28 (footnote continued)


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                                                                      1                   And even if there is any truth to these allegations, which, up until the date of

                                                                      2 the Motion have never been raised by the Debtor or the Rechnitz’s, at most they are

                                                                      3 potential counterclaims or defenses. To be given any credence, the counterclaims or

                                                                      4 defenses themselves must be “bona fide.” In other words, while the existence of

                                                                      5 counterclaims or defenses may establish that a dispute exists, they do not establish that

                                                                      6 a “bona fide” dispute exists. Vortex Fishing, 277 F.3d at 1066 (9th Cir. 2007) (the

                                                                      7 existence of a counterclaim does not automatically render the claim subject to a bona fide

                                                                      8 dispute); accord In re Onyx Telecomms., Ltd., 60 B.R. 492, 495-96 (Bankr. S.D.N.Y.

                                                                      9 1985); Norriss Bros., 133 B.R. at 604; In re High Plains Inv., Inc., 2012 Bankr. LEXIS

                                                                     10 6071 (Bankr. S.D. Iowa Sept. 13, 2012).

                                                                     11                   In a word, the Debtor simply has manufactured these “disputes” in order to
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                                                                     12 defeat the involuntary petition. To date, despite ample opportunity, the Debtor has never

                                                                     13 questioned Petitioning Creditors’ claims whether as to liability or amount. Only on the

                                                                     14 eve of the entry of an order for relief did the Debtor first decide to concoct imaginative

                                                                     15 theories to bolster its fabricated allegations of bona fide disputes. Moreover, it is well
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                                                                     16 established that the previous recognition of a debt is evidence that no bona fide dispute

                                                                     17 exists, and that a putative debtor’s self-serving testimony is insufficient to prove the

                                                                     18 existence of a bona fide dispute. See In re CorrLine Int’l, LLC, 516 B.R. 106, 148 (Bankr.

                                                                     19 S.D. Tex. 2014); In re Faberge Rest. of Florida, Inc., 222 B.R. 385, 389 (Bankr. S.D. Fla.

                                                                     20 1997). Because the standard is an objective one, a debtor’s subjective intent or belief is

                                                                     21 irrelevant, and the mere or conclusory denial of a claim’s validity or amount is not

                                                                     22 sufficient to create a bona fide dispute. Mechanical Inc. v. BDC 56 LLC (In re BDC LLC),

                                                                     23 330 F.3d 111, 118 (2d Cir. 2003); Rimell v. Mark Twain Bank (In re Rimell), 946 F.2d

                                                                     24 1363, 1365 (8th Cir. 1991).

                                                                     25

                                                                     26 Appointment of Interim Chapter 7 Trustee” [Docket No. 15], the “Declaration of Victor Franco Noval in
                                                                          Support of Petitioning Creditors’ Motion for Appointment of Interim Chapter 7 Trustee” [Docket No. 16], and
                                                                     27 the “Declaration of Peter Marco in Support of Petitioning Creditors’ Motion for Appointment of Interim
                                                                          Chapter 7 Trustee” [Docket No. 17], each filed on May 19, 2020.
                                                                     28


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                                                                      1                      Here, once the Court looks beyond the self-serving rhetoric and judges the

                                                                      2 Motion on its vacuous evidentiary record, it cannot find that Petitioning Creditors’ claims

                                                                      3 are subject to bona fide disputes.

                                                                      4                                                           VI.

                                                                      5     THE NINTH CIRCUIT DOES NOT RECOGNIZE THE DISMISSAL OF INVOLUNTARY

                                                                      6                          PETITIONS FOR “BAD FAITH” AND THERE ARE NO

                                                                      7                                  FACTS SUPPORTING SUCH A FINDING

                                                                      8                      Noticeably absent from the Motion is any Ninth Circuit decision permitting

                                                                      9 an involuntary petition to be dismissed on the grounds of “bad faith,” a phrase which is

                                                                     10 not defined by the Code. And although the Debtor provides a litany of non-binding

                                                                     11 decisions which have dismissed involuntary petitions for bad faith, this Court is not
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                                                                     12 compelled to follow them, especially since doing so would violate the Supreme Court’s

                                                                     13 edict prohibiting courts from using 11 U.S.C. § 105(a) to create substantive rights that are

                                                                     14 otherwise unavailable under applicable law.10

                                                                     15                      Section 303(b) governs the standing requirements of petitioning creditors
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                                                                     16 filing involuntary petitions against alleged debtors. Good faith is not an explicit

                                                                     17 requirement for granting involuntary relief under Section 303. See 2 Collier on

                                                                     18 Bankruptcy ¶ 303.16 (16th 2020) (Section 303 “does not require that an involuntary

                                                                     19 petition be filed in good faith[.]”). As such, bad faith is not an independent cause of

                                                                     20 dismissal (or defense) for involuntary bankruptcy proceedings under Section 303(b) and

                                                                     21 the Court should not apply principles of equity under Section 105(a) to create exceptions

                                                                     22 that do not exist according to the Bankruptcy Code.

                                                                     23

                                                                     24

                                                                     25
                                                                          10
                                                                               In fact, the only case the Debtor refers to within this district - In re WLB-RSK Venture, 296 B.R. 509
                                                                     26 (Bankr. C.D. Cal. 2003) - does not even support the Debtor’s argument that the Code permits the dismissal
                                                                          of an involuntary petition for bad faith. At most, the Court states that the Code “seems to imply” that an
                                                                     27 involuntary petition can be dismissed for bad faith. This is far from a definitive ruling, and the decision has
                                                                          no precedential effect on this Court in any event.
                                                                     28


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                                                                      1                   The Supreme Court in Law v. Siegel, 571 U.S. 415, 134 S. Ct. 1188, 188 L.

                                                                      2 Ed. 2d 146 (2014) expressly restricted the use of equity in bankruptcy to expand the text

                                                                      3 of the Bankruptcy Code. See In re Reyes Colon, 558 B.R. 563 (Bankr. D.P.R. 2016)

                                                                      4 (following Law, court refused to create an exception to requirements to commence an

                                                                      5 involuntary petition pursuant to Section 303(b) based on equity principles). Although

                                                                      6 court have considered “bad faith” as an independent basis for dismissal of voluntary

                                                                      7 petitions, there is no reason this Court should depart from Law and equate voluntary and

                                                                      8 involuntary petitions and their requirements under the equitable powers of Section

                                                                      9 105(a). In short, the Court should not incorporate to the Bankruptcy Code additional

                                                                     10 provisions that were purposely excluded by Congress because equitable powers under

                                                                     11 Section 105(a) do “not authorize the bankruptcy courts to create substantive rights that
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                                                                     12 are otherwise unavailable under applicable law, or constitute a roving commission to do

                                                                     13 equity.” United States v. Sutton, 786 F. 2d 1305, 1308 (5th Cir. 1986).

                                                                     14                   What is more, for involuntary relief to be granted pursuant to Section 303(b)
                                                                     15 the following requirements must be satisfied: (i) the involuntary petition must be filed by at
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                                                                     16 least three petitioning creditors; (ii) with claims that are not contingent as to liability or that

                                                                     17 are not the subject of a bona fide dispute as to liability or amount; and (iii) whose

                                                                     18 unsecured, noncontingent, undisputed claims are at least in the aggregate amount of

                                                                     19 $16,750. 11 U.S.C. § 303(b). Section 303(b) does not provide for the inclusion of

                                                                     20 additional requirements to granting an involuntary petition given that it does not include a

                                                                     21 non-exhaustive list of additional requirements anteceded by the word “including.”

                                                                     22                   Conversely, Section 303 contains a limited and exhaustive list of

                                                                     23 requirements for granting or denying an order for relief in relation to an involuntary

                                                                     24 petition. The term “bad faith” is not included in Section 303(b) or (h) as a defense to be

                                                                     25 raised by the debtor upon the petitioning creditors’ filing of an involuntary petition.

                                                                     26 Therefore, there is no statutory requirement that the petitioning creditors commence an

                                                                     27 involuntary petition in good faith. See In re Datacom Sys., 2015 Bankr. LEXIS 4579

                                                                     28 (Bankr. D. Nev. 2015) (it is generally inappropriate for a bankruptcy court to consider the


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                                                                      1 good faith or bad faith of petitioning creditors when deciding whether to enter an order for

                                                                      2 relief, as a result, bankruptcy courts do not ordinarily reach the issue of bad faith unless

                                                                      3 and until an involuntary petition is dismissed).

                                                                      4                   In fact, only Section 303(i)(2) includes the term “bad faith” in connection

                                                                      5 with the possible awarding of damages if a court dismisses an involuntary petition.

                                                                      6 Section 303(i)(2) provides in pertinent part:

                                                                      7                   (i) [i]f the court dismisses a petition under this section other

                                                                      8                   than on consent of all petitioners and the debtor, and if the

                                                                      9                   debtor does not waive the right to judgment under this

                                                                     10                   subsection, the court may grant judgment -

                                                                     11                   (1) against the petitioners and in favor of the debtor for -
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                                                                     12                   (A) costs; or

                                                                     13                   (B) a reasonable attorney’s fee; or

                                                                     14                   (2) against any petitioners that filed the petition in bad faith,

                                                                     15                   for -
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                                                                     16                   (A) any damages proximately cause by such filing; or

                                                                     17                   (B) punitive damages.

                                                                     18 11 U.S.C. § 303(i)(2).

                                                                     19                   Since bad faith is only mentioned in Section 303(i)(2), in which bad faith is a

                                                                     20 requirement for the recovery of actual or punitive damages after an involuntary petition is

                                                                     21 dismissed, if the petitioning creditors meet the initial statutory requirements pursuant to

                                                                     22 Section 303, as Petitioning Creditors do here, a finding of bad faith is inappropriate. See

                                                                     23 In re Kennedy, 504 B.R. 815, 823-24 (Bankr. S.D. Miss. 2014).

                                                                     24                   Consequently, the Court should limit its analysis of Section 303 to the clear

                                                                     25 and unequivocal language of the statute as “it is also where the inquiry should end, for

                                                                     26 where, as here, the statute’s language is plain, ‘the sole function of the courts is to

                                                                     27 enforce it according to its terms.’” United States v. Ron Pair Enterprises, Inc., 489 U.S.

                                                                     28 235, 241, 109 S. Ct. 1026, 103 L. Ed. 2d 290 (1989). Here, the language of Section 303


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                                                                      1 is clear because the terms “bad faith,” “good faith,” and the term “cause” as a non-

                                                                      2 exhaustive basis for dismissal are not included in this section, but have been explicitly

                                                                      3 included in other sections of the Code such as 11 U.S.C. §§ 1112(b)(1), 921(c), 930(a),

                                                                      4 707(a), 1208(c), and 1307(c).

                                                                      5                   Therefore, under Section 303(b), it is irrelevant whether any involuntary

                                                                      6 bankruptcy petitions are filed in good or bad faith because such requirement is lacking in

                                                                      7 this particular statute. Likewise, “since bad faith was explicitly included in section

                                                                      8 303(i)(2) but explicitly excluded from the rest of section 303, this Court should find that if

                                                                      9 Congress had intended to include ‘bad faith’ as a defense or as an independent basis for

                                                                     10 dismissal of an involuntary petition, it would have included the term in that particular

                                                                     11 section of the Code or it would have created a non-exhaustive list of bases for dismissal
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                                                                     12 for ‘cause.’ Applying equity under section 105 following the Law determination would

                                                                     13 equate erroneously and unfoundedly with assuming ‘that Congress has omitted from its

                                                                     14 adopted text requirements that it nonetheless intends to apply,’ particularly, ‘when

                                                                     15 Congress has shown elsewhere in the same statute that it knows how to make such a
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                                                                     16 requirement manifest.’” Watt v. GMAC Mortg. Corp., 457 F.3d 781, 783 (8th Cir. 2006).

                                                                     17                   Thus, based upon case law regarding statutory interpretation of the Code
                                                                     18 as applied by Law, the explicit exclusion of a good faith requirement in the filing of an

                                                                     19 involuntary petition was not the result of inadvertence, given that, “[u]nder normal

                                                                     20 statutory construction, we would not assume that the failure to include some item in a

                                                                     21 statute is an oversight that the court may correct.” United States v. Neal, 249 F.3d 1251,

                                                                     22 1255 (10th Cir. 2001).

                                                                     23                   To reiterate, “bad faith” is mentioned only in Section 303(i), which

                                                                     24 “contemplates bad faith only as a requirement for the recovery of punitive damages after

                                                                     25 the involuntary petition is dismissed.” Kennedy, 504 B.R. at 823-24; see also Kidwell,

                                                                     26 158 B.R. at 217 (Section 303(i) “makes plain that bad faith is not relevant unless

                                                                     27 consequential and punitive damages are under consideration.”). Simply put, if the

                                                                     28 petitioning creditors satisfy “the prerequisite requirements under § 303, ‘a finding of bad


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                                                                      1 faith [is] inappropriate.’” Aigner v. McMillan (In re McMillan), 2013 Bankr. LEXIS 2269

                                                                      2 (Bankr. N.D. Tex. June 4, 2013) (bad faith only becomes relevant in assessing a request

                                                                      3 for damages under Section 303(i)(2)). For these reasons, the Court cannot dismiss the

                                                                      4 involuntary petition on the alleged basis of bad faith.

                                                                      5                   But even if the judicially-created “good faith” requirement renders a finding

                                                                      6 of bad faith sufficient to dismiss an involuntary petition, the Court cannot find that

                                                                      7 Petitioning Creditors acted in bad faith. As a reminder, an involuntary petition enjoys a

                                                                      8 presumption of good faith, and a debtor bears the burden to show, by a preponderance of

                                                                      9 the evidence, that the filing was in bad faith. See Lubow Machine Co. v. Bayshore Wire

                                                                     10 Products Corp. (In re Bayshore Wire Products Corp.), 209 F.3d 100, 105 (2d Cir. 2000);

                                                                     11 In re Synergistic Techs., 2007 Bankr. LEXIS 2660 (Bankr. N.D. Tex. Aug. 6, 2007); In re
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                                                                     12 Alta Title Co., 55 B.R. 133 (Bankr. D. Utah 1985).

                                                                     13                   Here, although the Debtor attempts to impute wrongful motives to
                                                                     14 Petitioning Creditors, there is no evidence, let alone a preponderance of the evidence,

                                                                     15 supporting any of its contentions. Generally, bad faith is dependent upon a finding that
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                                                                     16 the petitioner acted with illegitimate purposes and/or objectives. There is no evidence in

                                                                     17 the record that Petitioning Creditors sought relief under Section 303 for a purpose other

                                                                     18 than to cause the Debtor’s assets to be recovered and dedicated to satisfying the debts

                                                                     19 of all creditors. In addition, since the involuntary petition satisfies Section 303(h)(1),

                                                                     20 Petitioning Creditors, as a matter of law, had sufficient basis to believe that involuntary

                                                                     21 relief was proper to avoid a finding of bad faith.

                                                                     22                   More to the point, each of the Debtor’s contrived reasons that the

                                                                     23 involuntary petition was filed in bad faith are based not on fact, but on conjecture and

                                                                     24 sheer legal speculation.

                                                                     25                   For instance, in order to excuse its failure to even attempt to demonstrate

                                                                     26 that bona fide disputes exist, the Debtor contends that the mere fact that litigation is

                                                                     27 pending is evidence of bona fide disputes. Contrary to the Debtor’s contention, this is not

                                                                     28 the law of the Ninth Circuit. As emphasized earlier, the Ninth Circuit, in Vortex Fishing,


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                                                                      1 specifically rejected the notion that the mere pendency of litigation or the filing of an

                                                                      2 answer is sufficient to establish the existence of a bona fide dispute. Vortex Fishing, 277

                                                                      3 F.3d at 1066. Even the Ninth Circuit’s decision in Blixseth does not state that the bare

                                                                      4 existence of pending litigation evidences a bona fide dispute. As such, pending litigation

                                                                      5 between the Debtor and certain of Petitioning Creditors cannot possibly serve as a basis

                                                                      6 for a bad faith finding.

                                                                      7                   Next, the Debtor asserts, again without any legal authority, that a petitioning

                                                                      8 creditor must exhaust all available state law remedies before an involuntary is

                                                                      9 commenced, or risk a finding of bad faith. The Debtor makes no attempt to define what is

                                                                     10 meant by this requirement, and what constitutes the exhaustion of a state law remedy.

                                                                     11 Such a definition is irrelevant, however, since there is no law supporting such a draconian
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                                                                     12 restriction on when an involuntary petition can be filed; Section 303(b) certainly imposes

                                                                     13 no such requirement. See Kennedy, 504 B.R. at 827 (although the complete failure to

                                                                     14 pursue state-law remedies may amount to bad faith in the Eleventh Circuit, there is no

                                                                     15 rule requiring the exhaustion of all possible state-law collection remedies before filing an
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                                                                     16 involuntary petition).

                                                                     17                   The suggestion that Petitioning Creditors engaged in bad faith since they
                                                                     18 are “forum shopping” or they have taken “inconsistent positions” suffers from the same

                                                                     19 infirmities as the Debtor’s other unpersuasive bad faith arguments. As illustrated, there is

                                                                     20 no restriction placed on petitioning creditors who have previously commenced state court

                                                                     21 actions against an alleged debtor, and there certainly is no evidence that Petitioning

                                                                     22 Creditors have adopted inconsistent positions with respect to their claims that would

                                                                     23 warrant a bad faith finding. And, as noted by the court in Synergistic, forum shopping in

                                                                     24 the context of involuntary petitions is perfectly acceptable. Synergistic, 2007 Bankr.

                                                                     25 LEXIS 2660 at *20 (petitioning creditors may file involuntary petitions to accomplish a

                                                                     26 more orderly, supervised liquidation of the company than might be accomplished outside

                                                                     27 the bankruptcy court).

                                                                     28


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                                                                      1                   Further, if this bankruptcy case proceeds, creditors would have a single

                                                                      2 forum in which to seek an orderly liquidation and pursue the efficient resolution of any

                                                                      3 preference or fraudulent transfer actions that may exist, which is certainly a proper motive

                                                                      4 to initiate an involuntary case. See In re Tucker, 2011 U.S. Dist. LEXIS 125972 (Bankr.

                                                                      5 N.D. W. Va. Oct. 31, 2011) (noting that alleged debtor “failed to show how invoking the

                                                                      6 bankruptcy court’s jurisdiction to recover and liquidate property for his bankruptcy estate

                                                                      7 is not something that a reasonable person in the position of the petitioning creditors

                                                                      8 would attempt” and stating that petitioning creditors can properly be motivated by a desire

                                                                      9 to recover fraudulent transfers and to initiate a liquidation of an alleged debtor’s assets,

                                                                     10 both of which goals can be achieved through the bankruptcy process).

                                                                     11                   As the court in In re Cook, 384 B.R. 282 (Bankr. N.D. Ala. 2008) sensibly
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                                                                     12 acknowledged:

                                                                     13                   When a creditor discovers his debtor is making preferential
                                                                     14                   payments, providing collateral to rival creditors, suffering
                                                                     15                   default or consent judgments, executing fraudulent transfers,
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                                                                     16                   or expending limited resources defending other creditors’
                                                                     17                   lawsuits and foreclosure actions in multiple forums, or when
                                                                     18                   the creditor finds himself in litigation with the debtor and
                                                                     19                   competing creditors in an unfriendly jurisdiction, an

                                                                     20                   involuntary bankruptcy petition against the debtor may be an

                                                                     21                   attractive remedy. If one or more of these circumstances is

                                                                     22                   the reason a creditor files an involuntary petition against a

                                                                     23                   debtor, it may indeed be considered forum shopping.

                                                                     24                   However, it is forum shopping permitted by Congress and is

                                                                     25                   not unlike removal of a civil action to federal district court

                                                                     26                   based on diversity of citizenship of the parties because a

                                                                     27                   defendant is uncomfortable in a foreign state court and

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                                                                      1                   believes he will receive a more favorable result in district

                                                                      2                   court.

                                                                      3 Id., at 294. (Emphasis added).

                                                                      4                   The Debtor’s due process concerns are equally spurious. Petitioning

                                                                      5 Creditors are not seeking to abridge any Constitutional rights the Debtor may have once

                                                                      6 an order for relief is entered. This Circuit already has disregarded such concerns as a

                                                                      7 basis to dismiss an involuntary petition. See Knedlik v. Spark Networks Ltd. (In re

                                                                      8 Knedlik), 2008 Bankr. LEXIS 4670 (B.A.P. 9th Cir. 2008) (the privilege against self-

                                                                      9 incrimination applies to bankruptcy proceedings). The illusory deprivation of the Debtor’s

                                                                     10 due process rights, therefore, cannot possibly form the basis of a bad faith finding.

                                                                     11                   In sum, even if an involuntary petition can be dismissed upon a finding of
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                                                                     12 bad faith, the Debtor’s arguments are based upon unsupported and contradictory

                                                                     13 allegations that fail to establish any semblance of bad faith. Even though Petitioning

                                                                     14 Creditors could themselves benefit from dismissal, since two of them already have

                                                                     15 commenced state court litigation, they have set aside their own self-interests in favor of
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                                                                     16 an independent trustee who will investigate the Debtor’s financial affairs. By filing the

                                                                     17 involuntary petition, Petitioning Creditors have ensured that piecemeal litigation will be

                                                                     18 halted and other unsecured creditors will be able to share in the dividends from the

                                                                     19 bankruptcy estate. Therefore, the Debtor’s request for dismissal on the grounds of bad

                                                                     20 faith is unfounded and should not be used as an alternative remedy for a motion to

                                                                     21 dismiss.

                                                                     22                                                  VII.

                                                                     23       THE DEBTOR’S REQUEST FOR ATTORNEY’S FEES, COSTS, AND DAMAGES

                                                                     24                                           IS PREMATURE

                                                                     25                   Although the Debtor claims that it is entitled to attorney’s fees and costs,

                                                                     26 the plain language of Section 303(i) reveals that it only applies after a case is dismissed.

                                                                     27 In other words, the Debtor’s request for damages entirely is premature. See In re S.

                                                                     28 California Sunbelt Developers, Inc., 608 F.3d 456, 462 (9th Cir. 2010) (“Fees may not be


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                                                                      1 awarded unless the court dismisses a petition”); In re Corn-Pro Nonstock Co-op., Inc.,

                                                                      2 317 B.R. 56 (B.A.P. 8th Cir. 2004) (“The plain language of this section requires dismissal

                                                                      3 before the alleged debtor becomes entitled to damages.”).

                                                                      4                   In addition, Rule 1018 of the Federal Rules of Bankruptcy Procedure

                                                                      5 provides that Rule 7054 applies to adversary proceedings. Rule 7054(b)(2)(A), which

                                                                      6 incorporates Rule 54(d)(2)(A) of the Federal Rules of Civil Procedure, expressly requires

                                                                      7 a claim for attorney’s fees to be made by a separate motion. As such, presuming the

                                                                      8 involuntary petition is dismissed, the Debtor must then file a separate motion seeking

                                                                      9 attorney’s fees and costs, which Petitioning Creditors will respond to in due course. Any

                                                                     10 request for attorney’s fees in the context of this Motion, therefore, must be denied.

                                                                     11                                                 VIII.
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                                                                     12    IF THE MOTION IS GRANTED, IN WHOLE OR IN PART, PETITIONING CREDITORS

                                                                     13          MUST BE PERMITTED LEAVE TO AMEND THE INVOLUNTARY PETITION
                                                                     14                         TO CORRECT ANY PERCEIVED DEFICIENCIES
                                                                     15                   To whatever extent, if any, this Court finds merit to the conclusory
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                                                                     16 statements in the Motion, leave to amend the petition should be granted. Rule 7015(a)(2)

                                                                     17 of the Federal Rules of Bankruptcy Procedure provides that a court “should freely give

                                                                     18 leave [to amend a complaint] when justice so requires.” Fed. R. Bankr. P. 7015(a)(2).

                                                                     19 The rule, moreover, should be interpreted with “extreme liberality.” United States v.

                                                                     20 Webb, 655 F.2d 977, 979 (9th Cir. 1981). “[D]ismissal without leave to amend is

                                                                     21 improper unless it is clear … that the complaint could not be saved by any amendment.”

                                                                     22 Polich v. Burlington North, Inc., 942 F.2d 1467, 1472 (9th Cir. 1991). In addition, when

                                                                     23 granting a motion to dismiss, a court “is generally required to grant the plaintiff leave to

                                                                     24 amend, even if no request to amend the pleading was made.” In re Rackable Systems,

                                                                     25 Inc. Securities Litigation, 2010 U.S. Dist. LEXIS 2663, *9 (N.D. Cal. 2010) (citing Cook,

                                                                     26 Perkiss & Liehe, Inc. v. N. Cal. Collection Serv. Inc., 911 F.2d 242, 246-47 (9th Cir.

                                                                     27 1990)).

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                                                                      1                   Indeed, dismissal without leave to amend is proper only in extraordinary

                                                                      2 cases. See Broam v. Bogan, 320 F.3d 1023, 1028 (9th Cir. 2003) (citing United States v.

                                                                      3 City of Redwood City, 640 F.2d 963, 966 (9th Cir. 1981)); Angelov v. Wilshire Bancorp,

                                                                      4 Inc., 331 Fed. Appx. 471, 472 (9th Cir. 2009). Where it appears that a complaint may be

                                                                      5 saved by the allegation of additional facts, the complaint should not be dismissed without

                                                                      6 leave to amend. See Lopez v. Smith, 203 F.3d 1122, 1127 (9th Cir. 2000) (en banc) (“[A]

                                                                      7 district court should grant leave to amend ... unless it determines that the pleading could

                                                                      8 not possibly be cured by the allegation of other facts”).

                                                                      9                   Whether leave to amend should be granted is generally determined by

                                                                     10 considering the following factors: (i) undue delay; (ii) bad faith; (iii) futility of amendment;

                                                                     11 and (iv) prejudice to the opposing party. See Texaco, Inc. v. Ponsoldt, 939 F.2d 794, 798
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                                                                     12 (9th Cir. 1991). Prejudice to the opposing party is the most important factor. See Zenith

                                                                     13 Radio Corp. v. Hazeltine Research, Inc., 401 U.S. 321, 330-31, 91 S. Ct. 795, 802-03, 28

                                                                     14 L. Ed. 2d 77 (1971). Here, the Debtor cannot demonstrate that an amendment would be

                                                                     15 futile, would be in bad faith, or would cause prejudice. In fact, by virtue of the clear
SulmeyerKupetz, A




                                                                     16 allegations in the involuntary petition, the Debtor is fully aware of the nature of the claims

                                                                     17 asserted and the facts upon which Petitioning Creditors’ claims are based. Any attempt

                                                                     18 to argue that it would be prejudiced if Petitioning Creditors were granted time to amend

                                                                     19 the petition would be disingenuous.

                                                                     20                                                 IX.

                                                                     21                                          CONCLUSION

                                                                     22                   Vague statements, which are not based on personal knowledge, are not

                                                                     23 sufficient to create “an objective basis for either a factual or a legal dispute as to the

                                                                     24 validity of the debt.” Vortex Fishing, 277 F.3d at 1064. The Debtor’s Motion, which

                                                                     25 presumes to demonstrate that Petitioning Creditors’ claims are subject to bona fide

                                                                     26 disputes, must, therefore, be disregarded since it is nothing more than a series of

                                                                     27 rambling and untested accusations and legal theories. For purposes of a Rule 12(b)(6)

                                                                     28 motion, Petitioning Creditors met their burden of proving, by a preponderance of the


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                                                                      1 evidence, that their claims against the Debtor are not subject to a bona fide dispute as to

                                                                      2 liability or amount. At that point, the burden of proof shifted to the Debtor to prove the

                                                                      3 existence of such a bona fide dispute. The Debtor failed to carry that burden of proof.

                                                                      4 Petitioning Creditors now welcome a trial on these and other issues so the Court can

                                                                      5 understand the depths and magnitude of the Debtor’s fraud. The Motion, therefore, must

                                                                      6 be denied, and the Debtor forced to answer the petition and file its creditor list.

                                                                      7 DATED: May 26, 2020                      SulmeyerKupetz
                                                                                                                 A Professional Corporation
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                                                                     10                                          By: /s/ Daniel A. Lev          _________________
                                                                                                                     Daniel A. Lev
                                                                     11                                              Attorneys for Petitioning Creditors
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SulmeyerKupetz, A




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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 333
South Grand Avenue, Suite 3400, Los Angeles, CA 90071.

A true and correct copy of the foregoing document entitled (specify): PETITIONING CREDITORS’ OPPOSITION TO
PUTATIVE DEBTOR’S MOTION TO DISMISS INVOLUNTARY PETITION AND REQUEST FOR ATTORNEY’S FEES,
COSTS, AND DAMAGES; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF will be served or
was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 May 26, 2020 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                                         Service information continued on attached page.

2. SERVED BY UNITED STATES MAIL:
On (date) May 26, 2020 , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

The Honorable Barry Russell
U.S. Bankruptcy Court
Roybal Federal Building
255 E. Temple Street, Suite 1660
Los Angeles, CA 90012

                                                                                         Service information continued on attached page.

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                      , I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.



                                                                                         Service information continued on attached page.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



 May 26, 2020                              Cheryl Caldwell                                      /s/ Cheryl Caldwell
 Date                                      Printed Name                                         Signature




CC 2701503v1 This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                     F 9013-3.1.PROOF.SERVICE
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                                                 ADDITIONAL SERVICE INFORMATION (if needed):


1. SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”)

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